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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA                         JS-6
                                     CIVIL MINUTES - GENERAL



Case No.        8:22-cv-00004-CJC-DFM                               Date       January 27, 2022
Title
                Jose Madriz v. Del Taco Restaurants, Inc. et al


PRESENT:

            HONORABLE CORMAC J. CARNEY. UNITED STATES DISTRICT JUDGE

           Elsa Vargas for Rolls Royce Paschal                      Not Reported
           Deputy Clerk                                             Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF:                      ATTORNEYS PRESENT FOR DEFENDANT:

         None Present                                               None Present

PROCEEDINGS:             (IN CHAMBERS) ORDER DISMISSING ACTION ON NOTICE OF
                         SETTLEMENT


       The Court, having been notified by a Notice of Settlement [12] that the case settled
hereby orders this action dismissed with prejudice. The Court hereby orders all proceedings in
the case vacated and taken off calendar.

       The Court retains jurisdiction for sixty (60) days to vacate this order and to reopen the
action upon showing of good cause that the settlement has not been completed.




cc:
                                                    Initials of Deputy Clerk
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                                                                                eva/rrp



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